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EXHIBIT |
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CT Corporation Service of Process
. Transmittal
06/25/2019

CT Log Number 535747028

TO: Denise Flemm, Director
Sirius XM Radio Inc.
1290 Avenue of the Americas,
New York, NY 10104

RE: Process Served in New Jersey

FOR: = Sirius XM Radio Inc. (Domestic State: DE)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION: JEFFREY PARRELLA, ETC., PLTF. vs. SIRIUS XM HOLDINGS, INC., ETC., ET AL., DFTS.
// TO: SIRIUS XM RADIO INC.

DOCUMENT(S} SERVED: SUMMONS, COMPLAINT, EXHIBIT

COURT/AGENCY: Mercer County Superior Court - Law Division, NJ
Case # MERLOO120719

NATURE OF ACTION: Violation of the CFA as to the Class N.J.S.A 56:8-2

ON WHOM PROCESS WAS SERVED: The Corporation Trust Company, West Trenton, NJ

DATE AND HOUR OF SERVICE: By Process Server on 06/25/2019 at 14:24

JURISDICTION SERVED : New Jersey

APPEARANCE OR ANSWER DUE: Within 35 days from the date you received this summons, not counting the date you
received it

ATTORNEY(S) / SENDER(S): Bharati 0. Shanna

The Wolf Law Firm, LLC

1520 U.S. Highway 130-Suite 1014
North Brunswick, NJ 08902
732-545-7900

ACTION ITEMS: CT has retained the current log, Retain Date: 06/25/2019, Expected Purge Date:
06/30/2019

Image SOP
Email Notification, Denise Flemm denise. flemm@siriusxm.com
Email Notification, Renee Kingsley renee.kingsley@siriusxm.com

Email Notification, Kasha Dragon Kasha.dragon@siriusxm.com

SIGNED: The Corporation Trust Company
ADDRESS: 820 Bear Tavern Road

3rd Floor

West Trenton, NJ 08628
TELEPHONE: 609-538-1818

Page 1 of 1 / MK

Information displayed on this transmittal is for CT
Corporation's record keeping purposes only and is provided to
the recipient for quick reference. This information does not
constitute a legal opinion as to the nature of action, the
amount of damages, the answer date, or any information
contained in the documents themselves, Recipient is
responsible for interpreting said documents and for taking
appropriate action. Signatures on certified mail receipts
confirm receipt of package only, not contents.
Case 3:19-cv-15778-AET-ZNQ Document 1-1 Filed 07/24/19 Page 3 of 27 PagelD: 14

Bharati O. Sharma, Esq. ~- NJ Atty ID No. 018432001
The Wolf Law Firm, LLC

1520 U.S. Highway 130 ~ Suite 101

North Brunswick, New Jersey 08902

Tel. 732-545-7900

Fax 732-545-1030

Attorneys for Plaintiff, Jeffrey Parrella

 

SUPERIOR COURT OF NEW JERSEY

JEFFREY P a : half of himself — . iy mane .
FREY PARRELLA, on behalf of himse LAW DIVISION — MERCER COUNTY

and all others similarly situated,
Plaintiff CIVIL ACTION
Vv.

SIRIUS XM HOLDINGS, INC. d/b/a SIRIUS Docket No. MER-L-001207-19

Defendants.

 

From: The State of New Jersey
To: Sirius XM Radio Inc.

The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey.
The complaint attached to this summons states the basis for this lawsuit. If you dispute this
complaint, you or your attorney must file a written answer or motion and proof of service with the
deputy clerk of the Superior Court in the county listed above within 35 days from the date you
received this summons, not counting the date you received it. (A directory of the addresses of each
deputy clerk of the Superior Court is available in the Civil Division Management Office in the
county listed above and online at
http:/Avww.judiciary.state.nj.us/prose/10153_deptyclerklawrefipdf) If the complaint is one in
foreclosure, then you must file your written answer or motion and proof of service with the Clerk
of the Superior Court, Hughes Justice Complex, P.O. Box 971, Trenton, NJ 08625-0971. A filing
fee payable to the Treasurer, State of New Jersey and a completed Case Information Statement
(available from the deputy clerk of the Superior Court) must accompany your answer or motion
when it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose
name and address appear above, or to plaintiff, if no attorney is named above. A telephone call
will not protect your rights; you must file and serve a written answer or motion (with fee of $135.00
and completed Case Information Statement) if you want the court to hear your defense.

If you do not file and serve a written answer or motion within 35 days, the court may enter
a judgment against you for the relief plaintiff demands, plus interest and costs of suit. If judgment
is entered against you, the Sheriff may seize your money, wages or property to pay all or part of
ithe judgment.

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If you cannot afford an attorney, you may call the Legal Services office in the county where
you live or the Legal Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-
5529). [f you do not have an attorney and are not eligible for free legal assistance, you may obtain
a referral to an attorney by cajling one of the Lawyer Referral Services, A directory with contact
information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http:/Avww judiciary.state.nj.us/prose/10153_deptyclerklawref pdf.

Dated: June 24, 2019 /s/ Michelle M. Smith
Michelle M. Smith
Clerk of the Superior Court of New Jersey

Name of defendant to be served: Sirius XM Radio Inc.
Address for service: Registered Agent
The Corporation trust company

$20 Bear Tavern Road
West Trenton, NJ 08628

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Directory of Superior Court Deputy Clerk's Offices
County Lawyer Referral and Legal Services Offices

ATLANTIC COUNTY:

Deputy Clerk of the Superior Court
Civil Division, Direct Filing

1201 Bacharach Bivd., First Floor
Auantic City, NJ 08401

BERGEN COUNTY:

Deputy Clerk of the Superior Court
Civil Division

Room 115 Justice Center,

10 Main Street

Hackensack. NJ 07601

BURLINGTON COUNTY:
Deputy Clerk of the Superior Court
Central Processing Office

Aun: Judicial Intake

First Floor, Courts Facility 49
Rancocas Road

Mi. Holly, NJ 08060

CAMDEN COUNTY:

Deputy Clerk of the Superior Court
Civil Processing Office

Hall of Justice, Ist Floor, Suite 150
11 South 5” Street

Camden, NJ 08103

CAPE MAY COUNTY:

Deputy Clerk of the Superior Court
ON. Main Street

Cape May Court House, NJ 08210

CUMBERLAND COUNTY:
Deputy Clerk of the Superior Court
Civil Case Management Office

60 West Broad Street

P.O. Box 10

Bridgeton, NJ 08302

ESSEX COUNTY:

Deputy Clerk of the Superior Court
Civil Customer Service

Hall of Records, Room 201

465 Dr. Martin Luther King Jr. Blvd.
Newark, NJ 07102

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LAWYER REFERRAL
(609) 345-3444
LEGAL SERVICES
(6095 348-4200

LAWYER REFERRAL
(20 1) 488-0044 LEGAL
SERVICES

(201) 487-2166

LAWYER REFERRAL
(609) 261-4862
LEGAL SERVICES
(800) 496-4570

LAWYER REFERRAL
(856) 964-4520
LEGAL SERVICES
(856} 964-2010

LAWYER REFERRAL
(609) 463-0313

LEGAL SERVICES
(609) 465-3001

LAWYER REFERRAL
(856) 696-5550
LEGAL SERVICES
(836) 694-0404

LAWYER REFERRAL
(856) 482-0618
LEGAL SERVICES
(973) 624-4500
Case 3:19-cv-15778-AET-ZNQ Document 1-1 Filed 07/24/19 Page 6 of 27 PagelD: 17

GLOUCESTER COUNTY:
Deputy Clerk of the Superier Court
Civil Case Management Office
Attn: Intake First Floor

Court House

! North Broad Sirect

Woodbury, NJ 08096

HUDSON COUNTY:

Deputy Clerk of the Superior Court
Civil Records Department
Brennan Court House -- [st Floor
583 Newark Avenue

Jersey City, NJ 07306

HUNTERDON COUNTY:
Deputy Clerk of the Superior Court
Civil Division

65 Park Avenue

Flemington, NJ 08822

MERCER COUNTY:

Deputy Clerk of the Superior Court
Local Filing Office, Courthouse
175 South Broad Street

P.O, Bux 8068

Trenton, NJ 08650

MIDDLESEX COUNTY:

Deputy Clerk of the Superior Court
Middlesex Vicinage 2nd Floor -Tower
3 Paterson Street

P.O. Box 2633

New Brunswick, NJ 08903-2633

MONMOUTH COUNTY:
Deputy Clerk of the Superior Court
Court House

P.O, Box 1269

Freehold, NJ 07728-1269

MORRIS COUNTY:

Morris County Courthouse
Civil Division

Washington and Court Streets
P.O. Box 910

Morristown, NJ 07963-0910

OCEAN COUNTY:

Deputy Clerk of the Superior Court
118 Washington Street, Room 121
P.O. Box 2191

Toms River, NJ 08754-2191

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LAWYER REFERRAL
(856) 848-4589
LEGAL SERVICES
(856) 848-5360

LAWYER REFERRAL
(201) 798-2727
LEGAL SERVICES
(201) 792-6363

LAWYER REFERRAL
(908) 735-261 |

LEGAL SERVICES
(908) 782-7979

LAWYER REFERRAL
(609) 585-6200
LEGAL SERVICES
(609) 695-6249

LAWYER REFERRAL
(732) $28-0053
LEGAL SERVICES
(732) 249-7600

LAWYER REFERRAL
(732} 431-5544
LEGAL SERVICES
(732) 866-0020

LAWYER REFERRAL
(973) 267-5882

LEGAL SERVICES
(973) 285-6911

LAWYER REFERRAL
(732) 240-3666
LEGAL SERVICES
(732) 341-2727
Case 3:19-cv-15778-AET-ZNQ Document 1-1 Filed 07/24/19 Page 7 of 27 PagelD: 18

PASSAIC COUNTY:

Deputy Clerk of the Superior Court
Civil Division

Court House

77 Hamilton Street

Paterson, NJ07505

SALEM COUNTY:

Deputy Clerk of the Superior Court
Aun: Civil Case Management Office
92 Market Street

Salem, NJ 08079

SOMERSET COUNTY:

Deputy Clerk of the Superior Court
Civil Division

P.O. Box 3000

40 North Bridge Street

Somerville, NJ 08876

SUSSEX COUNTY:

Deputy Clerk of the Superior Court
Sussex County Judicial Center”
43-47 High Street

Newton, NJ 07866

UNION COUNTY:

Deputy Clerk of the Superior Court
151 Floor, Court House

2 Broad Street

Elizabeth, NJ 07207-6073

WARREN COUNTY:

Deputy Clerk of the Superior Court
Civil Division Office

Court House

413 Second Street

Belvidere, NJ 07823-!500

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LAWYER REFERRAL
(973) 278-9223

LEGAL SERVICES
(973) 323-2900

LAWYER REFERRAL
(856) 678-8363
LEGAL SERVICES
(856) 451-0003

LAWYER REFERRAL
(908) 685-2323
LEGAL SER VICES
(908) 235-0840

LAWYER REFERRAL.
(973) 267-3882
LEGAL SERVICES
(973) 383-7400

LAWYER REFERRAL
(908) 353-4745
LEGAL SERVICES
(908) 354-4340

LAWYER REFERRAL
(973) 267-5882

LEGAL SERVICES
(908) 475-2010
Case 3:19-cv-15778-AET-ZNQ Document 1-1 Filed 07/24/19 Page 8 of 27 PagelD: 19

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1520 U.S. Highway 130 ~ Suite 101

North Brunswick, New Jersey 08902

Tel. 732-545-7900

Fax 732-545-1030

Attorneys for Plaintiff. Jeffrey Parrella

 

SUPERIOR COURT OF NEW JERSEY

JEPEREY PARRELLA, on behalf of himself |
EFFREY PARRELLA, on behalf of himse LAW DIVISION — MERCER COUNTY

and alt others similarly situated,
Plaintiff, CIVIL ACTION
¥.

SIRIUS XM HOLDINGS, INC. d/b/a SIRIUS Docket No. __-L- -19
XM SATELLITE RADIO; SIRIUS XM RADIO

INC - and JAMES E MEYER. CLASS ACTION COMPLAINT AND

JURY DEMAND

Defendants.

 

NATURE OF THE ACTION
lL. Plaintiff Jeffrey Parrella, on behalf of himself and those similarly situated, brings this
action for damages and other relief arising from the Defendants, Sirius XM Holdings, Inc. d/b/a
Sirius XM Satellite Radio, Sirius XM Radio Inc. and James E. Meyer’s violations of the New
Jersey Consumer Fraud Act (the “CFA”), N.JS.A 56:8-2 ef seg., the General Advertising
Regulations, N.JA.C. 13:45A-9.1 e¢ seg., and the Truth-in-Consumer Contract, Warranty and
Notice Act (the “TCCWNA”), N_JLS.A. 56:12-14 e7 seq., related to an unlawful bait-and-switch
advertising scheme employed by Defendants to sell their “Select service” radio package to Plaintiff
and those similarly situated under far less advantageous terms, including a higher price and shorter
length, than advertised.
VENUE
2. Venue in this action properly lies in Mercer County, New Jersey as Defendant’s Registered

Avent is located there and Defendants regularly conduct business there.

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PARTIES
3. Plaintiff Jeffrey Parrella resides in Kinnelon, New Jersey.
4. Defendant Sirius XM Radio Inc. (hereafier “Sirius XM") is a Delaware for-profit

corporation, with its principal executive offices located at 1221 Avenue of the Americas, 37th
Floor, New York, New York 10020.
5. Sirius XM’s registered agent in New Jersey is The Corporation Trust Company, 820 Bear
Tavern Road, West Trenton, NJ 08628.
6. Sirius XM, is a wholly-owned subsidiary of Sirius XM Holdings Inc.
7. Defendant Sirius XM Holdings Inc. d/b/a Sirius XM Satellite Radio (hereafter “Sirius XM
Holdings’) is the world’s largest audio entertainment company, and the premier programmer and
platform for subscription-and advertising-supported audio products. Sirius XM Holdings is a
Delaware for-profit corporation, with its principal place of business located at 1290 Avenue of the
Americas, | 1" floor, New York, New York.
8. Defendant James E. Meyer has been the Chief Executive Officer of Sirius XM Holdings
since December 18, 2012.

ALLEGATIONS OF FACT
9. Sirius XM transmits music, sports, entertainment, comedy, talk, news, traffic and weather
channels, as well as infotainment services, in the United States on a subscription fee basis.
10. Sirius XM’s primary source of revenue is subscription fees.
11. Sirius XM sells subscriptions, among other ways, through connected veliicle services.
12. As of December 31, 2017, Sirius XM had approximately 32.7 million subscribers.
13. Sirius XM’s subscribers include, among others, subscribers under its regular and

discounted pricing plans.

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14. Most of Sirius XM’s customers subscribe to annual, semi-annual, quarterly or monthly
plans.

(5. Sirius XM offers discounts for prepaid longer-term subscription plans.

16. Sirius XM has agreements with every major automaker to offer satellite radios in their

vehicles, through which it acquires the majority of its subscribers,” whose initial subscription costs

are bundled into the sale or lease price of a vehicle.

17. Plaintiff was a previous customer of Sirius XM, however, he deactivated his service with
Sirius XM.
18. In or around December 2017, Defendants mailed Plaintiff an advertisement from Sirius

XM offering to reactivate his Sirius XM service on the deactivated account. See advertisement
attached as Exhibit A.

19. Defendants offered to sell Plaintiff its “Select service” package at a cost of only $99.00,
which would “lock in” three years of “uninterrupted Sirius XM Select service.” See Exhibit A.
20. As the offer indicates, this would work out to a monthly cost to Plaintiff of $2.75 untl
2020, or 82% off of the current monthly rate of $15.99 for this SiriusXM subscription. See Exhibit
A,

21. The offer also allowed Plaintiff to cancel at any time and SiriusXM would waive the
reuctivation fee of $15.00. See Exhibit A.

22. Included in the advertisement was a letter to Plaintiff signed by Sirius XM Holdings CEO,
James E. Meyer. See id.

23. In his letter, Mr. Meyer communicated the terms of the offer and encouraged Plaintiff to
accept what the advertisement said was SirlusXM’s “BIGGEST, BEST OFFER EVER.” See id.

(emphasis in original).

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24, Plaintiff acted to accept SiriusXM’s attractive offer.

25. To accept this offer, the advertisement instructed Plaintiff to either “go to
siriusxm.com/bestoffer101 or call 1.888.244.0396 by December 31, 2017." See id. (emphasis in
original).

26. Prior to December 31, 2017, Plaintiff went online to sirtusxm.com/bestofferiQ1 to accept
this offer.

27, However, when Plaintiff entered his Radio 1D or Account number supplied in the
advertisement, a less-attractive and more-expensive offer for the “Setect service” was the only

offer that appeared on the screen.

28. Plaintiff made multiple unsuccessful attempts online to accept Defendants’ advertised
offer.
29. However, the advertised offer he received in the mail was not being offered to him through

Sirius XM’s website.

30. Since -- contrary to Sirius XM’s representations in the advertisement -- the offer for the
“Select service” that Sirius XM made throug: the advertisement was not available for him to
accept online, Plaintiff called Sirius XM, as instructed, at 1.888.244.0396 and was connected with
a SiriusXM customer service representative (“CSR”).

3h. The CSR asked Plaintiff for the Radio ID on the offer he was mailed, which Plaintiff
provided.

32. The CSR told Plaintiff that Sirius XM’s computer system was not showing any options for
that number that he provided.

33. Plaintiff read the letter to the CSR describing the three years for $99 offer as an option.

34. The CSR said she would check with a supervisor as they do not usually have the offer of

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$99 for three years available.

35. Plaintiff reminded the Sirius XM CSR that Sirius XM had mailed the offer to him, and the
CSR stated that she wanted to give Plaintiff the offer he received in the mail.

36. After putting Plaintiff on hold and consulting a supervisor, the CSR reiterated to Plaintiff
that she wanted to give Plaintiff the $99 offer he received in the mail, but that the “system” would
not allow her to do this.

37, instead of the 3-year plan for $33.00 per year for the “Select service”, the CSR advised
Plaintiff that she could sell him the “Select service” one-year plan for $60.00.

38. Plaintiff requested that the CSR escalate his call to a higher department, which she
indicated she would do.

39. The CSR then repeated the offer for one year of Sirtus XM service lor $60.00.

40. Plaintiff decided to activate his Sirius XM service through the “limited offer” of one year
for $60.00, however, he made clear that he still wanted the matter corrected and for Sirius XM to
honor the offer that he received in the mail. |

41. The CSR again confirmed that she was going escalate his issue.

42. The CSR then went over the terms of the one-year offer for $60.00, asking Plaintiffto hold
any questions until after she read to him the terms of the offer.

43. After reading the terms, the CSR asked Plaintiff if he accepted these terms.

44. Plaintiff stated that he accepted the terms subject to his call being escalated within
SiriusXM and Sirius XM ultimately honoring the offer Plaintiff received in the mail for three years
of Select service at $99.00.

45. Sirius XM charged Plaintiff (via credit card} $60.00 for the “Select service” package for

one year, as well as a “U.S. Music Royalty Fee” of $8.34 and $4.53 for New Jersey sales tax.

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46. The total cost for Plaintiff to receive one year of Sirius XM's “Select” service (excluding
taxes) was $68.34.
47. Had Sirius XM honored the offer that prompted Plaintiff to call and reactivate, he would
have paid only $33.00 per year (pre-tax), and that rate would have been “lock[ed] in” for “three
years of savings.”
48. However, because Sirius did not honor the deal advertised, Plaintiff ended up paying
$60.00 (pre-tax) for one year of service — an 82% increase in the $33.00 yearly rate SiriusXM
offered in the advertisement.
49. The above-described conduct by Defendants in their transactions with Plaintiff are the same
and/or substantially similar to the course of conduct engaged in by Defendants in their transactions
with numerous other consumers in New Jersey who are similarly situated to Plainuiff.

CLASS ACTION ALLEGATIONS

$0. This action is brought and may properly proceed as a class action pursuant to the provisions

of Rule 4:32 of the New Jersey Court Rules.

 

51. Plaintiff seeks certification of a Class, initially defined as:

All New Jersey consumers to whom Sirius XM offered a “Select

service” package the same as or similar to the “Select service”

package offered to Plaintiff at any time on or after the day six years

prior to the date this Complaint was filed, who timely responded to

the offer and subsequently purchased a more expensive service

package.
52. The members of the Class for whose benefit this action is brought are so numerous that
joinder of all members is impracticable.

53. There are questions of law and fact common to the members of the Class, including:

a. Whether Defendants provided advertisements/offers to putative class members that
misrepresented that a particular package was available to them,

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b. Whether Defendants failed to provide an advertised/offered package to putative class
members;

c. Whether the advertisement offering three years of “Select service’ for $99 violates the
General Advertisement Regulations, N./.A.C. 13:45A-9.2(a)(1), (2), or (9);

d. Whether Defendants’ actions, as set forth herein, were unconscionable commercial
practices, deception, fraud, false pretenses, and/or misrepresentations in violation of
the CFA, N./S.A. 56:8-2;

e. Whether advertising three years of “Select service” for $99, which was not available,
then selling a higher priced package for a shorter period of time violates the CPA,
NIS.A. 56:8-2.2;

f. Whether Plaintiffs and those similarly situated suffered an ascertainable loss as a result
of Defendants’ violation(s) of the CFA;

g. Whether by providing consumers with standard form documents that contain violations
of the General Advertising Regulations and/or the CFA as set forth above, Defendants
thereby violated the TCCWNA at N./.S.A. 56:12-15;

h. Whether by providing consumers with standard form documents that violate the
TCCWNA, Defendants are liable to Plaintiff and all others similarly situated for the
minimum statutory civil penalty of $100 for each contract, pursuant the TCCWNA at
N.JS.A. 56:12-17.

54, Plaintiff's claims are typical of the claims of the members of the Class which they represent

because all such claims arise out of the same policies, practices, and conduct, and the same or

similar documents used by the Defendants in their dealings with Plainuff.

55, Plaintiff has no interests antagonistic to those of the Class.
56. The Class, of which Plaintiff is a member, is readily identifiable.
57. Plaintiff will fairly and adequately protect the interests of the Class, and has retained

competent counsel experienced in the prosecution of consumer litigation.

38. Plaintiff's attorneys have significant experience and expertise in litigating consumer class
actions. °
59, A class action is superior to other available methods for the fair and efficient adjudication

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of this controversy since joinder of all members is impracticable. While the economic damages
suffered by the individual members of the Class are significant, the amount is modest compared
io the expense and burden of individual litigation.
60. The questions of law or fact common to the members of the Class predominate over any
questions affecting only individual members.
61. Defendants acted, or refused to act, on grounds generally applicable to Plaintiff and all
class members, thereby making appropriate final injunctive relief or corresponding declaratory
relief with respect to the Class as a whole.
62. A class action will cause an orderly and expeditious administration of the claims of the
Class, and will foster economies of time, effort and expense.
63. Plaintiff does not anticipate any difficulty in the management of this litigation.

FIRST COUNT

Violation of the CFA as to the Class

N.J.S.A 56:8-2
64, Plaintiff repeats and realleges all prior altegations as if set forth at length herein.
65. The New Jersey Consumer Fraud Act states: “The act, use or employment by any person of
any unconscionable commercial practice, deception, fraud, false preiense, false promise,
misrepresentation, or the knowing, concealment, suppression, or omission of any material fact with
intent that others rely upon such concealment, suppression or omission, in connection with the sale or
advertisement of any merchandise or real estate, or with the subsequent performance of such person
as aforesaid, whether or not any person has in fact been misled, deceived or damaged thereby, ts
declared to be an unlawful practice.” NJS.A. 56:8-2.
66. Defendants are “‘sellers” as defined by the CFA, N./S.A. 56:8-1 et seq.

67. The Sirius XM “Select service” plan and similar offers are “merchandise” as defined by the

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CFA, NASA. 56:8-1 ef seg.
68. The communication Plaintiff received from Sirius XM offering the “Select service” plan for
a total of $99.00 over three years is an “advertisement” as defined by the CFA, N./.S.A. 56:8-1 et seq.
69. By offering the “Select service” package or similar offers to Plaintiff and those similarly
situated for a total of $99.00 over three years, SiriusXM was engaging in the “sale” of merchandise
under the CFA, N.AS.A. 56:8-1 ef seg.
70. Defendants violated the CFA, at N./S.A. 56:8-2 by falscly advertising and/or making
misrepresentations and deceptive statements in connection with the advertisement and sale of their
“Select service” package. Specifically, that Plaintiff and those similarly situated could purchase the
package for $99.00 for three years (plus taxes) or similar offers when, in fact, the packages were not
available at that price.
7I. Defendants’ violation of N.J.S.A. 56:8-2 caused Plaintiff and those similarly situated to suffer
an ascertainable loss, including any amounts above the offered price they paid to Sirtus XM for the
“Select service” package or other package from the date the SiriusXM account was activated and for
the term of the original offer.
72. In accordance with N.JS.A. 56:8-19, Defendants are liable to Plaintiff and those similarly
situated for treble damages and attorneys’ fees and costs.
COUNT TWO
Violations of the Consumer Fraud Act NLAS.A. 56:8- ef seg.
and the General Advertising Regulations, V./.A.C. 13:45A-9.1 ef sey. as to the Class
73. Plaintiff repeats and realleges all prior allegations as if set forth at length herein.
74, Defendants are “advertisers” as defined by the General Advertising Regulations, NAA.C.
13:45A-9.1 ef seq.

7§, The Sirius XM “Select service” plan and similar offers are “merchandise” as defined by the

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General Advertising Regulations, V./.4.C. 13:45A-9.1 et seq.
76. The communication Plaintiff and others received from Sirius XM offering the “Select service”
plan fora total of $99.00 over three years and other similar offers are “advertisements” as defined by
the General Advertising Regulations, NJ/.A.C. 13:45A-9.1 ef seq.
77. Defendants further violated the CFA by providing advertisements that violate the General
Advertising Regulations, N.J.A.C. 13:45A-9.2(a)(1), which declares as untawful:
The failure of an advertiser to maintain and offer for immediate purchase advertised
merchandise in a quantity sufficient to meet reasonably anticipated consumer
demand therefor. When an advertisement states a specific period of time during
which merchandise will be available for sale, a sufficient quantity of such
merchandise shall be made available to meet reasonably anticipated consumer
demand during the stated period. When no stated period appears in the
advertisement, a sufficient quantity of merchandise shall be made available to meet
reasonably anticipated consumer demand during three consecutive business days
commencing with the effective date of the advertisement.
78. Defendants further violated the CFA by providing advertisements that violate the Gencral
Advertising Regulations, N.J.A.C. 13:45A-9.2(a)(2), which declares as unlawful: “The failure of an
advertiser to specifically designate within an advertisement which merchandise items possess special
or limiting factors relating to price, quality, condition or availability.”
79. Defendants further violated the CFA by providing advertisements that violate the General
Advertising Regulations, N.J.A.C. 13:45A-9.2(a)(9), which declares as unlawful: “The making of
false or misleading representations of facts concerning the reasons for, existence or amounts of
price reductions, the nature of an offering or the quantity of advertised merchandise avaitable for
sale.”
80. Specifically, Defendants’ conduct violates the above regulations by advertising the “Select

service” package for $99.00 for three years (plus taxes) or similar offers when, in fact, the package

offered was not available.

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S
St. Defendants’ violations of the above caused Plaintiff and those similarly situated to suffer an
ascertainable loss, including any amounts above the offered price they paid to Sirius XM for the
“Select service” package or other package from the date the Sirius XM account was activated and for
the term of the original offer.
82. In accordance with N.J.S.A. 56:8-19, Defendants are liable to Plaintiff and those similarly
situated for treble damages and attorneys’ fees and costs.
THIRD COUNT
Engaging in Bait and Switch Scheme in Violation of the CFA
N.5.S.A. 56:8-2.2 as to the Ciass

83. Plaintiff repeats and realleges all prior allegations as if set forth at length herein.
84. N.J.S.A. 56:8-2.2 provides that “[t]he advertisement of merchandise as part of a plan or
scheme not to sell the item or service so advertised or not to sell the same at the advertised price
is an unlawful practice and a violation of the [CFA].”
85. The advertisement that Sirius XM sent to Plaintiff and those similarly situated was part of
a plan or scheme to not sell the “Select service” package as advertised.
86. The advertisement that Sirius XM sent to Plaintiff and those similarly situated was part of
a plan or scheme to not sell the ‘Select service” package so advertised at the advertised price.
87. Sirius XM baited Plaintiff and those similarly situated with a very attractive offer for Sirius
XM’s “Select service” package.
88. When Plaintiff and those similarly situated went on Sirius XM’s website to purchase the
“Select” service or other offer at the price and term advertised, the offer did not appear and the

Plaintiff and those similarly situated were directed to call Sirlus XM.

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89. When Plaintiff and those similarly situated called Sirius XM to purchase the “Select”
service or other offer at the price and terms advertised, the Sirius XM indicated that it would not
sell the “Select service” packaye at the price and term advertised.
90. Instead of selling the “Select service” or other offer at the price and term advertised, Sirius
XM _ offered and ultimately sold the “Select service” or other package to Plainuff and those
similarly situated for a higher price or shorter term.
91, Defendants’ conduct constitutes an unlawful practice and violation of the CFA pursuant to
N_JS.A, 56:8-2.2.
92. Defendants’ violation of N.J.S.A. 56:8-2-2 caused Plaintiff and those similarly situated
ascertainable loss, including any amounts above the offered price they paid to Sirius XM for the
“Select service” package or other package from the date the Sirus XM account was activated and [or
the term of the original offer.
93. In accordance with N.J.S.A. 56:8-19, Defendants are liable to Plaintiff and those similarly
situated for treble damages and attorneys’ fees and costs.
FOUTH COUNT
Violation of the TCCWNA as to the Class
N.J.S.A. 56:12-14 ef seq.
94, Plaintiff, on behalf of himself and all others similarly situated, re-asserts and incorporates
by reference the previous allegations.
95. The TCCWNA, N./S.4, 56:12-15, prohibits businesses from offering or giving written
contracts or notices to consumers that contain any provision that violates the consumers’ rights or
business’s responsibilities under clearly established New Jersey or federal law, and provides

remedies to consumers who are offered or given such contracts or notices, including statutory

damages of not less than $100, actual damages or both, plus attorneys’ fees and costs. N.J.S.A.

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56:12-17.

96. Defendants are “sellers” within the meaning of TCCWNA, N.JS.A. 56:12-15 and 17, with
respect to Plaintiff and others similarly situated.

97. Plaintiff is a “consumer” as defined by N./.S.A. 56:12-15.

98. | The advertisement sent to Plaintiff and those similarly situated is a “contract,” “notice” and/or
“sign” within the meaning of the TCCWNA. N./S.A. 56:12-15.

99. The provisions of the advertisement received by Plaintiff and those similarly situated violate
the clearly established legal rights of Plaintiff and those similarly situated, and/or violate the clearly
established responsibilities of Sirius XM under the CFA at N.J.S.A. 56:8-2.

100. The provisions of the advertisement received by Plaintiff and those similarly situated violate
the clearly established legal rights of Plaintiff and those similarly situated, and/or violate the clearly
established responsibilities of Sirius XM under the General Advertising Regulations at N.LAC.
13:45A-9,2(a)

i01. The advertisement received by Plaintiff and those similarly situated violates the clearly
established legal rights of Plaintiff and those similarly situated and/or violates the clearly established
responsibilities of Sirius XM, as its provisions are part of a plan or scheme devised by Sirius XM to
not sell the “Select service” package as advertised and/or to not sell the “Select service” package at
the advertised price, in violation of N.J.S.A. 56:8-2.2.

102. Sirius XM violated N.J.S.A. 56:12-15 by providing a notice to Plaintiff and those similarly
situated advertising the “Select service” package or other offers for a price and duration that Sirius
XM did not plan to honor, but rather intended to use to bait consumers to purchase the “Select” service
package or other offer at a higher price and or shorter term, in violation of the clearly established

rights of Plaintiff and those similarly situated and responsibilities of Sirius XM under N.J.S.A. 56:8-

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2 and N.L.S.A. 56:8-2.2.
103. Sirius XM violated N.J.S.A. 56:12-15 by offering to Plaintiff and those similarly situated a
written consumer contract for the “Select” service package or other offers, which Sirius XM planned
to, and did, sell at a price that was more expensive than advertised, in violation of N.J.S.A. 56:8-2 and
N.JS.A. 56:8-2.2.
104. Asaresult of Sirius XM's violation of N.J.S.A. 56:12-15, Plaintiff and those similarly situated
suffered actual harm, including but not limited to monetary loss, and other adverse consequences.
105. Therefore, Plaintiff and those similarly situated are aggrieved consumers. N.J.S.A. 56:12-17.
106. Pursuant to N.J.S.A. 56:12-17, Defendants are liable to Plaintiff and those similarty situated
for actual damages suffered, a statutory penaity of at least $100.00 per class member and attorneys’
fees and costs.

WHEREFORE, Plaintiff, on behalf of himself and those similarly situated, deniands relief
and judgment against the Defendants as follows:

a. An order certifying this matter as a class action under Rule 4:32-1(b)(3), appointing
Plaintiff as the class representative and his attorneys as class counsel;

b. Alternatively, an order certifying this matter as a class action under Rule 4:32-
1(b)(2) as to the Class, appointing Plaintiff as the class representative and his
attorneys as class counsel;

c. Declaring that Defendants’ advertisement violates the General Advertising
Regulations, the CFA, and the TCCWNA;

d. Enjoining Defendants from future violations of the General Advertising
Regulations, the CFA, the TCCWNA and misrepresentations in their
advertisements;

€. Requiring Defendants to provide an accounting of all Class members who received

the “Select service” or similar package advertisement, whether each contacted
Defendants and the results of that contact;

f. Providing equitable relief requiring Defendants to provide Notice to all members
of the Class that if they were damaged by Defendants’ advertisement that they
should seek the advice of counsel as they may have a viable action against
Defendants.

g. Awarding treble damages pursuant to the CFA. N./S.A. 56:8-19;

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h. Awarding actual damages and statutory civil penalties in the amount of $100
payable to Plaintiff and members of the class as defined pursuant to the TCCWNA.
NJIS.A. 5612-17;

i. Awarding reasonable attorneys’ fees and costs of suit in connection with this action,
pursuant to the CFA, N./.5.4. 56:8-19, and the TCCWNA. NASA. 56:12-17;

j. Awarding pre-judgment and post-judgment interest; and

k. Granting such other and further relief as the Court deems equitable and just.
JURY DEMAND
Plaintiff demands a trial by jury on all issues subject to trial.

DESIGNATION OF TRIAL COUNSEL

Pursuant to Rule 4:25-4, Bharati O. Sharma, Esq. is hereby designated as trial counsel for
the Plaintiff in the above matter.
CERTIFICATION
Pursuant to Rule 4:5-1. | hereby certify to the best of my knowledge that the matter in
controversy is not the subject of any other action pending in any court or the subject of a pending
arbitration proceeding, nor is any other action or arbitration proceeding contemplated. I further

certify that | know of no party who should be joined in the action at this time.

The Wolf Law Firm, LLC

Dated: June 19, 2019 s/Rharati O. Sharma
Bharati O. Sharma
Attorneys for Plaintiff

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Case 3:19-cv-15778-AET-ZNQ Document 1-1 Filed 07/24/19 Page 23 of 27 PagelD: 34

EXHIBIT A

Appended to:

CLASS ACTION COMPLAINT AND
JURY DEMAND
Case 3:19-cv-15778-AET-ZNQ Document 1-1 Filed 07/24/19 Page 24 of 27 PagelD: 35

 
 
   

‘ iw , PO Box 787 To clairn this first-ever offer, —
(i Sirlusxm ») Chanhassen \'N 58317 OUST =

SATELLITE BanIO go to sirlusxm.com/bestoffer101
or call 1.888.244.0396
by December 31, 2017

00207 EXCLUSIVELY FOR
Radnetete JEFEREY PARRELLA

Mtl chet OUR BIGGEST, BEST
OFFER EVER:

Offer Valid Only For: e 4i8 { & ;

Your Radic ID/ESN. 0275040780?) # i EF!
Your Account #: 104526511453 £0 a
Your Vehicle: 2009 Jeep Granda Cherokee

(Olver valict only on the Racho/iD listed anove.) Get Select service for $99 and

lock in the low price of
$2.75/month until 2020!

 

 

 

Dear Jeffrey,

cow much do we want you back? Enough to create a
brand-new offer, just for you, for the first time ever:

Reactivation .. ~SS-00. FREE

Reactivate your SiriusXM service at 22% OFF Month 1: 2. SOQ. $2.75

and lock in that savings for THRE: “EARS! Moech 2. | ~SHAQGQ. $275
Plus, cancel any time and there’s

Morn & ORO. $2.75

no automatic renewal.
See Offer Details below.

Yes you read that correctly: for $99 (that works

aut to $2.75 per month), you get uninterrupted SiriusXM
Select service, our most popular package. for three

‘ull years. That locks your law price into the year 2020 -
1 149%. ings of nearly $500!

magine: three years of commercial-free music from OF ;
- tually every genre; three years of live sports coverage;
three years of comedy and talk; and three years of , SAVINGS!

a-ciusive, subscribers-only programming.

And not only can you cancel any time, we'll also waive
the reactivation fee (normally $15.00).

 

So call or go online now, and rock your rice! hove “Pe rt

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=ncerely,

Nef Month 36: ..... $4599. $2.75
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G O TOTAL... 20... Ssee-c4. $99.00

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ctw Executive O“icer, SirtuskM Redio Wow! You gave 7S

On ta cirintevym cam /pactaftart ht nearly a500!
Case 3:19-cv-15778-AET-ZNQ Document 1-1 Filed 07/A4/$3. Page O-o0f 27 PageiD sas Yt

$2.75/month until 2020!

Dear Jeffrey,

How much do we want you back? Enough to create a

brand-new offer, just for you, for the first time ever: ;
Just Tory - -Reactivation .. THe. FREE
Reactivate your SiriusXM service at 22% OF Monih= 9... 74599. $2.75

i tsavings for? 4 9% Y..ARS. . . wares
and lock in that sav ng or? ¢ ARS Nd "G55-99.. $2.75
Plus, cancel any time and there’s . _ qin etn
no automatic renewal. en gh 2S

See Offer Detans befou

Yes, you read that correctly: for S99 (that works

out to $2.75 per month), you get uninterrupted SirtusxXM

Select service, our most popular package, for three

full years. That locks your low price into the year 2020 -
x : sins of seariy SSQO!

imagine: three years of commercial-free music from
virtually every genre; three years of live sports coverage;
three years of comedy and talk; and three years of
exciusive, subscribers-only programming.

9

And not only can you cancel any time, we'll also waive
the reactivation fee (normally $15.00),

 

So call or go online now, and rock your ride! ot . ween
Month 33.0.0 0. B99. $2.75

Sincerely, ~
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Chie® Executive Officer, SiusxXM Radio Wow ! Vou oave- 7

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Otfer Details: Activate a 3 year Select subscription and pay $99, a savings of 82% off the current munthly fate of $15.99. fees and taxes apply.
A credit ar debit card is required tor this offer. Service will not automatically renew. To cancel you must call us at 1 866-635-2349 See our Customer
Agreement for complete terms, All tees and programming subject to change. This offer cannot be combined with any other Offer good only on the inactive
jadio identified above.

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Civil Case Information Statement

Case Details: MERCER | Civil Part Docket# L-001207-19

Case Caption: PARRELLA JEFFREY VS SIRIUS XM Case Type: COMPLEX COMMERCIAL

RADIO INC. Document Type: Complaint with Jury Demand

Caso Initiation Date: 06/19/2019 Jury Demand: YES - 6 JURORS

Attorney Name: BHARATI OLGA SHARMA Hurricane Sandy related? NO

Firm Name: THE WOLF LAW FIRM LLC Is this a professional malpractice case? NO

Address: 1520 US HWY 130 SUITE 101 Related cases pending: NO

NORTH BRUNSWICK NJ 08902 If yes, list docket numbers:

Phone: Be you anticipate adding any parties (arising out of same
Name of Party: PLAINTIFF : Parrella, Jefirey transaction or occurrence}? NO

Name of Defendant's Primary insurance Company

{if known): None

THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE

CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION

Do parties have a current, past, or recurrent relationship? NO
If yes, is that relationship:
Does the statute governing this case provide for payment of fees by the losing party? NO

Use this space to alert the court to any special case characteristics that may warrant individual

management or accelerated disposition:
This is a putative class action requiring the TK 4 management for the complexities of class certification, notice

and class wide discovery and litigation.

Do you or your client need any disability accommodations? NO
If yes, please identify the requested accommodation:

Will an interpreter be needed? NO
If yes, for what language:

Please check off each applicable category: Putative Class Action? YES Title 597 NO

| certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

06/19/2019 {si BHARATI OLGA SHARMA
Dated Signed
Case 3:19-cv-15778-AET-ZNQ Document 1-1 Filed 07/24/19 Page 27 of 27 PagelD: 38

MERCER COUNTY COURTHOUSE
CIVIL CASE MANAGMENT OFFICE
175 SOUTH BROAD ST P O BOX 8068
TRENTON NaI 08650-0068
TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (609) 571-4200
COURT HOURS 8:30 AM - 4:30 PM

DATE: JUNE 19, 2019
RE: PARRELLA JEFFREY VS SIRIUS XM RADIO INC.
DOCKET: MER L -001207 19

THE ABOVE CASE HAS BEEN ASSIGNED TO: TRACK 4.

DISCOVERY IS PRESUMPTIVELY 450 DAYS BUT MAY BE ENLARGED OR SHORTENED BY THE
JUDGE AND RUNS FROM THE FIRST ANSWER OR 90 DAYS FROM SERVICE ON THE FIRST
DEFENDANT, WHICHEVER COMES FIRST.

FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

THE MANAGING JUDGE ASSIGNED IS: HON PAUL INNES

IF YOU HAVE ANY QUESTIONS, CONTACT TEAM 011
AT: (609) 571-4200 EXT 4475.

IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
ATTENTION:

ATT: BHARATI ©. SHARMA

THE WOLF LAW FIRM LLC

1520 US HWY 130

SUITE 101

NORTH BRUNSWICK NJ 08902

ECOURTS
